Case 2:19-cv-08370-DSF-MAA Document 59 Filed 11/24/20 Page 1 of 3 Page ID #:948




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     RICHARD TRUJILLO,                    CV 19-8370 DSF (MAAx)
         Plaintiff,
                                          Order DENYING Motion for
                      v.                  Review of Magistrate Judge’s
                                          Order (Dkt. No. 52)
     THE CHEFS’ WAREHOUSE
     WEST COAST, LLC, et al.,
         Defendants.



        Defendant Chefs’ Warehouse West Coast, LLC has moved for review
    of the Magistrate Judge’s order compelling pre-certification class
    discovery in this case. The Court deems this matter appropriate for
    decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-
    15.

       A district court’s reconsideration of the decision of a magistrate
    judge is governed by 28 U.S.C. § 636(b)(1), which provides:

          Notwithstanding any provision of law to the contrary – (A)
          a judge may designate a magistrate judge to hear and
          determine any pretrial matter pending before the court . . .
          . A judge of the court may reconsider any pretrial matter
          under this subparagraph (A) where it has been shown that
          the magistrate judge’s order is clearly erroneous or
          contrary to law.

       “A finding is ‘clearly erroneous’ when although there is evidence to
    support it, the reviewing body on the entire evidence is left with the
    definite and firm conviction that a mistake has been committed.” Boyd
Case 2:19-cv-08370-DSF-MAA Document 59 Filed 11/24/20 Page 2 of 3 Page ID #:949




    v. Bert Bell/Pete Rozelle NFL Players Retirement Plan, 410 F.3d 1173,
    1178 (9th Cir. 2005).

       There is no indication that the Magistrate Judge made any errors of
    law in compelling discovery. A trial court is granted substantial
    discretion in directing discovery, including in the context of pre-
    certification class discovery. See Doninger v. Pac. Nw. Bell, Inc., 564
    F.2d 1304, 1312-13 (9th Cir. 1977). The Magistrate Judge’s thorough
    order shows that she examined and understood the relevant guidance
    for the exercise of that discretion.

       While Defendant’s position on class discovery is defensible and
    might have carried the day before a different judge, the Court is left far
    from having a “definite and firm conviction that a mistake has been
    committed.” Defendant’s primary arguments are that class discovery
    should have been limited to the location and shift where and when the
    named plaintiff worked. The Magistrate Judge examined the
    allegations, evidence, and arguments and reasonably concluded that
    there was good reason to believe that discovery involving other shifts
    and Defendant’s other California location was likely to lead to evidence
    supporting Plaintiff’s class claims. Nor was the Magistrate Judge
    unreasonable in determining that Plaintiff was entitled to discovery
    regarding potential class members who, according to Defendant, signed
    settlement agreements or arbitration agreements. Defendant argues
    that the Magistrate Judge “failed to consider the burden on Defendant
    of producing information responsive to Plaintiff’s requests,” but the
    specific burden arguments made by Defendant in this motion do not
    appear to have been raised in Defendant’s filings before the Magistrate
    Judge.

       In short, while the Magistrate Judge could have imposed the
    discovery restrictions requested by Defendant, she did not clearly err or




                                        2
Case 2:19-cv-08370-DSF-MAA Document 59 Filed 11/24/20 Page 3 of 3 Page ID #:950




    act contrary to law in not doing so. The motion for review of the
    Magistrate Judge’s order is DENIED.

       IT IS SO ORDERED.



     Date: November 24, 2020               ___________________________
                                           Dale S. Fischer
                                           United States District Judge




                                       3
